            Case 1:18-cr-00068-ADA-BAM Document 21 Filed 05/10/18 Page 1 of 2


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 2
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 4   Telephone: (559) 221-2557
 5
     Attorney for Defendant,
 6   Maurillo Serrano-Cardenas

 7                                 IN THE UNITED STATES DISTRICT COURT
 8                           FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
     UNITED STATES OF AMERICA,                            NO. 1:18-CR-00068-DAD-BAM
10
                      Plaintiff,
11
          v.                                              WAIVER OF DEFENDANT’S PERSONAL
12                                                        PRESENCE PURSUANT TO FEDERAL
     MAURILLO SERRANO-CARDENAS, et al.,                   RULES OF CRIMINAL PROCEDURE,
13                                                        RULE 43 (b)(3); [PROPOSED] ORDER
14                    Defendant.
15

16   TO THE ABOVE ENTITLED COURT AND ALL PARTIES OF RECORD:
17             Defendant MAURILLO SERRANO-CARDENAS (“Mr. Serrano”) has been advised of
18
     his right to be personally present at all stages of the court proceedings in the above entitled
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     action against him. Mr. Serrano hereby waives his right to be present for proceedings that
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21
     involve only a conference or a hearing on a question of law pursuant to Federal Rules of

22   Criminal Procedure, Rule 43, subdivision (b)(3).
23             Pursuant to this waiver, Mr. Serrano request that the Court allow his interest to be
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     represented by the presence of his attorney, Richard M. Oberto, and he agrees that his interests
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     shall be represented the same as if he were personally present. Mr. Serrano agrees that notice to
26

27
     his attorney that his personal presence is required for a proceeding at a specific time and place

28   will be deemed notice to Mr. Serrano of the requirement of his personal presence.
           Case 1:18-cr-00068-ADA-BAM Document 21 Filed 05/10/18 Page 2 of 2


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 3   DATED: 5/1/18                                    /s/ Maurillo Serrano-Cardenas
                                                        MAURILLO SERRANO-CARDENAS
 4                                                          Defendant
                                                            Original signature retained by
 5
                                                            attorney Richard M. Oberto
 6

 7
     DATED: 5/8/18                                    /s/ Richard M. Oberto
 8
                                                      RICHARD M. OBERTO
 9                                                           Attorney for Defendant,
                                                             Maurillo Serrano-Cardenas
10                                                           Original signature retained by
                                                             attorney Richard M. Oberto
11

12

13                                      [PROPOSED] ORDER
14
              IT IS HEREBY ORDERED that the personal presence of Defendant MAURILLO
15
     SERRANO-CARDENAS is not required for proceeding that involve only a conference or a
16
     hearing on a question of law pursuant to Federal Rules of Criminal Procedure, Rule 43,
17

18   subdivision (b)(3).

19   IT IS SO ORDERED.
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     Dated:    May 10, 2018                                      /s/ Barbara A. McAuliffe
21
                                                         UNITED STATES MAGISTRATE JUDGE
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